        Case 3:18-cv-00772-SDD-EWD              Document 243         01/11/21 Page 1 of 16




                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

 STEPHEN M. GRUVER, ET AL                           : NO. 18-CV-772-SDD-EWD
                                                    :
 VS.                                                :
                                                    :
 STATE OF LOUISIANA THROUGH                         :
 THE BOARD OF SUPERVISORS OF                        :
 LOUISIANA STATE UNIVERSITY AND                     :
 AGRICULTURAL AND MECHANICAL                        :
 COLLEGE, ET AL                                     :


             ANSWER TO THE ORIGINAL COMPLAINT AS AMENDED BY
                THE FIRST AND SECOND AMENDED COMPLAINT

        Now into Court, through undersigned counsel, comes The Board of Supervisors of

Louisiana State University and Agricultural and Mechanical College (“LSU”), which in answer to

the Original Complaint, as amended by the First and Second Amended Complaint, pleads the

following:

                                         FIRST DEFENSE

        Any state law claims asserted against LSU herein have been dismissed and require no

answer.

                                        SECOND DEFENSE

        The facts pleaded against LSU fail to state a claim upon which relief can be granted.

                                         THIRD DEFENSE

        Any liability for the damages, if any, asserted herein is the sole legal responsibility of third

parties for whom LSU bears no legal responsibility, including but not limited to all defendants,

other than LSU, named in this action, and unnamed or settled parties.




                                                   1
90251
        Case 3:18-cv-00772-SDD-EWD              Document 243        01/11/21 Page 2 of 16




                                       FOURTH DEFENSE

        The damages recoverable from LSU are limited by the statutory limitation and/or legislated

in La. R.S. 13:5106(B).

                                         FIFTH DEFENSE

        LSU is entitled to a credit and/or offset for the fault allocated to any settled party or other

party legally responsible for Plaintiffs’ injuries or damages or any amount paid in settlement. Any

double recovery that creates a financial taking from LSU constitutes an unconstitutional

deprivation of property from LSU that violates the Fifth Amendment and the Eleventh

Amendment.

                                         SIXTH DEFENSE

        The circumstances leading to the death of Maxwell Gruver were not reasonably foreseeable

to LSU.

                                       SEVENTH DEFENSE

        Plaintiffs assert an implied private right of action for damages against LSU pursuant to Title

IX of the Educational Amendments of 1972, 20 U.S.C. § 1681, et seq. (“Title IX”).             Article I

Spending Power was is the operative constitutional power authorizing Congress to enact Title IX

in 1972. Rosa H. v. San Elizario Independent School Dist., 106 F.3d 648,654 (5th Cir. 1997);

Canutillo Indep. School Dist. v. Leija, 101 F.3d 393,398 (5th Cir. 1996); Rowinsky v. Bryan

Independent School District, 80 F.3d 1006, 1013 n. 14 (5th Cir. 1996).          Damages recoverable

under Spending Power legislation only if “the funding recipient is on notice that, by accepting

federal funds, it exposes itself to liability of that nature.” Barnes v. Gorman, 536 US 181, 187,

122 S.Ct. 2097, 153 L.Ed.2d 230 (2002).        LSU did not receive clear notice that, by accepting



                                                   2
90251
        Case 3:18-cv-00772-SDD-EWD              Document 243         01/11/21 Page 3 of 16




federal funds, it exposed itself to the following types of liabilities and/or damages, which bar

recovery for these alleged liabilities or damages:

        a. Emotional distress damages;

        b. Physical pain and suffering damages associated with fraternity hazing;

        c. Negligent homicide committed by students;

        d. Student on student violence of a non-sexual nature;

        e. Wrongful death damages;

        f. Student conduct not expressly regulated or even addressed by Title IX regulations

           issued by the U.S. Department of Education;

        g. Punitive or exemplary damages.

        h. Damages that exceed the statutory cap contained in La. R.S. 13:5106(b).

Any imposition of liability without “clear notice” to LSU violates the Due Process Clause of the

United States Constitution and exceeds Congress’ Article I Spending Power.

                                        EIGHTH DEFENSE

        Title IX does not govern, regulate or create private action liability for alleged discrimination

based on disparate impact or a heightened risk of harm.

                                        NINETH DEFENSE

        Without waiving any defense, LSU cannot be found to have violated Title IX because LSU

had gender neutral policies that prohibited and were designed to prevent hazing in both fraternities

and sororities.

                                         TENTH DEFENSE

        LSU had no actual knowledge that Maxwell Gruver was being subjected to the conduct

described in Counts IV, V and VI of the Complaint.

                                                   3
90251
        Case 3:18-cv-00772-SDD-EWD               Document 243        01/11/21 Page 4 of 16




                                       ELEVENTH DEFENSE

          LSU was never advised by the United States Department of Education or any other federal

agency that disburses funds under Title IX that fraternity hazing constitutes or could constitute

prohibited gender discrimination in the application and/or enforcement of Title IX establishing

notice to LSU and an opportunity for LSU to come into voluntary compliance, if non-complaint,

which is denied. Absent such an opportunity, Plaintiffs’ claims for damages under Title IX are

barred.

                                        TWELFTH DEFENSE

          LSU was never notified by Plaintiffs of any Title IX violation or potential violation or

potential injury prior to suit and pleads the defense of waiver and/or estoppel.

                                     THIRTEENTH DEFENSE

          LSU did not have or exercise substantial control over the conduct of the Phil Delt individual

defendants or the context in which the conduct of the Phi Delt individual defendants occurred as

described in the Complaint. Any vicarious or other liability imposed on LSU for the intentional

acts or criminal acts of third parties under the authority of Title IX violates the Due Process Clause

of the United States Constitution.

                                     FOURTEENTH DEFENSE

          The alleged intentional criminal acts of one or more of the Phil Delta individual defendants

and/or third parties are an intervening and/or superseding cause that breaks any causal chain

between LSU’s alleged actions/inactions and Plaintiffs’ alleged injuries. Such causes bar or, in

the alternative, reduce any recovery to which plaintiff might otherwise be entitled to against LSU.




                                                    4
90251
        Case 3:18-cv-00772-SDD-EWD             Document 243        01/11/21 Page 5 of 16




                                     FIFTEENTH DEFENSE

        In the event of a change in applicable law or interpretive jurisprudence, LSU asserts its

immunity to suit herein under U.S. Const., Art. XI, and further pleads that LSU is immune to any

burdens of discovery directed to alleged negligence of LSU and not reasonably calculated to lead

to the discovery of admissible evidence specific to Plaintiff’s Title IX claim for intentional gender-

based discrimination.

                                     SIXTEENTH DEFENSE

        Plaintiffs have an available forum in state court to assert all causes of action against LSU.

Plaintiffs have split their cause of action against LSU as prohibited by La. Code Civ. Proc. art.

425.

                                  SEVENTEENTH DEFENSE

        Plaintiffs, individually, were never students at LSU and have no right to assert or standing

to assert individual claims of gender based discrimination to the extent asserted.

                                   EIGHTEENTH DEFENSE

        The damages asserted in this matter are speculative as a matter of law.

                                   NINETEENTH DEFENSE

        LSU reserves the right to assert additional affirmative defenses and file additional answers,

third-party petitions, counter-claims or cross-claims as they become evident during the course of

this litigation.




                                                  5
90251
        Case 3:18-cv-00772-SDD-EWD               Document 243      01/11/21 Page 6 of 16




                       ANSWER TO SECOND AMENDED COMPLAINT

        LSU answers the Complaint, as amended by the first and Second Amending Complaint, as

follows:1

    1. LSU denies the allegation contained in paragraph 1 of the Complaint, as written, for lack

         of sufficient information to justify a belief therein.

    2. LSU denies the allegation contained in paragraph 2 of the Complaint, as written.

    3. LSU admits the allegation contained in paragraph 3 of the Complaint, as written.

    4. LSU does not have personal knowledge of the facts set forth in the allegations contained in

         paragraph 4-6 of the Complaint, as written, and therefore denies the allegations contained

         for lack of sufficient information to justify a belief therein as a basis to impose Title IX

         liability on LSU.

    5. LSU denies the allegation contained in paragraph 7 of the Complaint, as written.

    6. LSU denies the allegation contained in paragraph 8 of the Complaint, as written.

    7. LSU denies the allegation contained in paragraph 9 of the Complaint, as written.

    8. LSU denies the allegation contained in paragraph 10 of the Complaint, as written.

    9. LSU denies the allegation contained in paragraph 11 of the Complaint, as written.

    10. LSU denies the allegation contained in paragraph 12 of the Complaint, as written.

    11. LSU denies the allegation contained in paragraph 13 of the Complaint, as written.

    12. LSU denies the allegation contained in paragraph 14 of the Complaint, as written.

    13. LSU denies the allegation contained in paragraph 15 of the Complaint, as written.




1
 The paragraph numbers listed in this answer correspond with the paragraphs in the Second
Amended Complaint.
                                            6
90251
        Case 3:18-cv-00772-SDD-EWD              Document 243       01/11/21 Page 7 of 16




  14. The allegations contained in Paragraph 16 are not directed at LSU and require no response.

        LSU has no personal knowledge of the allegations contained in paragraph 16 of the

        Complaint, as written, and therefore denies the allegations contained for lack of sufficient

        information to justify a belief therein as a basis to impose Title IX liability on LSU.

  15. LSU denies the allegation contained in paragraph 17 of the Complaint, as written.

  16. The allegations contained in Paragraph 18 are not directed at LSU and require no response.

        LSU has no personal knowledge of the allegations contained in paragraph 18 of the

        Complaint, as written, and therefore denies the allegations contained for lack of sufficient

        information to justify a belief therein as a basis to impose Title IX liability on LSU.

  17. LSU denies the allegation contained in paragraph 18 of the Complaint, as written.

  18. LSU denies the allegation contained in paragraph 19 of the Complaint, as written.

  19. LSU denies the allegation contained in paragraph 20 of the Complaint, as written.

  20. LSU denies the allegation contained in paragraph 21 of the Complaint, as written, for lack

        of sufficient information to justify a belief therein.

  21. Paragraph 22 is not an allegation of fact and requires no response from LSU.

  22. The allegations of paragraph 23 are admitted.

  23. The allegations of paragraph 24 are admitted.

  24. The allegations of paragraph 25 are admitted.

  25. LSU denies the allegation contained in paragraph 26 of the Complaint, as written.

  26. LSU admits that Plaintiffs are the surviving parents of Max Gruver as set forth in Paragraph

        27 of the Complaint. The remaining allegations state legal conclusions, not factual

        allegations that require no response by LSU.

  27. The allegations of paragraph 28 are admitted.

                                                   7
90251
        Case 3:18-cv-00772-SDD-EWD                 Document 243    01/11/21 Page 8 of 16




  28. The allegations contained in paragraphs 29-40 of the Complaint are not directed at LSU

        and require no response.

  29. While LSU denies that the complaint and/or factual allegations give rise to a Title IX

        violation, Title IX liability, a Title IX private right of action or Title IX regulation, LSU

        does not dispute the allegation of subject matter jurisdiction under 28 U.S.C. § 1331, but

        incorporates its Fifteenth Defense in response to the allegation in paragraph 41 of the

        Complaint.

  30. In response to paragraph 42 of the Complaint, all state law claims against LSU have been

        dismissed and the remaining allegations of supplemental jurisdiction are not directed at

        LSU and require no response.

  31. The allegations of paragraph 43 are admitted.

  32. The allegations of paragraph 44 are admitted.

  33. The allegations of paragraph 46 containing references to a document are admitted with

        respect to the accuracy of the references. However, LSU invokes the rule of completeness

        under Fed. R. Evid. 106 as the best evidence of its content and denies the edited reference

        in the document is evidence of gender-based discrimination.

  34. LSU denies the allegation contained in paragraph 47 of the Complaint, as written.

  35. LSU denies the allegation contained in paragraph 48 of the Complaint.

  36. LSU has no personal knowledge of the allegations contained in paragraph 49 of the

        Complaint, as written, and therefore denies the allegations contained for lack of sufficient

        information to justify a belief therein.

  37. LSU denies the allegation contained in paragraph 50 of the Complaint, as written, for lack

        of sufficient information to justify a belief therein.

                                                    8
90251
        Case 3:18-cv-00772-SDD-EWD            Document 243         01/11/21 Page 9 of 16




  38. LSU denies the allegations contained in paragraph 51 of the Complaint.

  39. LSU has no personal knowledge of the allegations contained in paragraphs 52-93 of the

        Complaint, as written, and therefore denies the allegations contained for lack of sufficient

        information to justify a belief therein. Moreover, those allegations are not directed at LSU

        and require no response.

  40. LSU admits the allegations contained in paragraphs 94-96 of the Complaint.

  41. LSU denies the allegation contained in paragraph 97 of the Complaint. This allegation does

        not pertain to any claim of gender-based discrimination.

  42. The allegations of paragraph 98 containing references to a document are admitted with

        respect to the accuracy of the references. However, LSU invokes the rule of completeness

        under Fed. R. Evid. 106 as the best evidence of its content and denies the edited reference

        in the document is evidence of gender-based discrimination.

  43. LSU denies the allegation contained in paragraph 99 of the Complaint.

  44. LSU denies the allegation contained in paragraph 100 of the Complaint as an allegation of

        gender-based discrimination.

  45. LSU denies the allegation contained in paragraph 101 of the Complaint as an allegation of

        gender-based discrimination.

  46. LSU denies the allegation contained in paragraph 102 of the Complaint as an allegation of

        gender-based discrimination.

  47. LSU denies the allegation contained in paragraph 103 of the Complaint as an allegation of

        gender-based discrimination.

  48. LSU denies the allegation contained in paragraph 104 of the Complaint.

  49. LSU denies the allegation contained in paragraph 105 of the Complaint.

                                                 9
90251
        Case 3:18-cv-00772-SDD-EWD            Document 243       01/11/21 Page 10 of 16




  50. LSU denies the allegations contained in paragraphs 106-108 of the Complaint.

  51. LSU denies the allegations contained in paragraphs 109-118 as allegations of gender

        discrimination because the policies referenced applied to both fraternities and sororities.

        To the extent the allegations are directed at claims of negligence, those claims have been

        dismissed and require no response by LSU in this action.

  52. LSU denies the allegation contained in paragraph 119 of the Complaint.

  53. LSU denies the allegation contained in paragraph 120 of the Complaint.

  54. LSU denies the allegation contained in paragraph 121 of the Complaint as an allegation of

        gender-based discrimination.

  55. LSU denies the allegations contained in paragraphs 122-123 as allegations of gender

        discrimination because the policies referenced applied to both fraternities and sororities.

        To the extent the allegations are directed at claims of negligence, those claims have been

        dismissed and require no response by LSU in this action.

  56. LSU denies the allegations contained in paragraphs 124-129 as allegations of gender

        discrimination for lack of sufficient information to justify a belief therein. To the extent

        the allegations are directed at claims of negligence, those claims have been dismissed and

        require no response by LSU in this action.

  57. LSU denies the allegations contained in paragraph 130 of the Complaint for lack of

        sufficient information to justify a belief therein without factual reference to the specific

        “violations”.

  58. LSU denies the allegations of paragraph 131 of the Complaint, as written.

  59. LSU denies the allegations of paragraph 132 of the Complaint, as written.



                                                10
90251
        Case 3:18-cv-00772-SDD-EWD             Document 243        01/11/21 Page 11 of 16




  60. In response to paragraph 133, LSU admits that the incidents set forth in the sub-portions of

        Paragraph 133 were investigated by LSU for the conduct or similar conduct described in

        the allegation. LSU is unable to distill a simple admission or denial based on the allegations

        as written.   LSU denies that the incidents described therein resulted in no disciplinary

        action being taken by LSU.

  61. LSU denies the allegations of paragraph 134 of the Complaint, as written.

  62. The factual allegations contained in paragraph 135 are admitted by LSU, but denies that

        these allegations state allegations of gender discrimination.

  63. LSU denies the allegation contained in paragraph 136 of the Complaint.

  64. LSU cannot admit or deny the allegations contained in paragraph 137 without reference to

        or identification of the specific sorority being described as was done for the organizations

        referenced in paragraph 133 of the Complaint. LSU denies that the punishment described

        did not seek to regulate dangerous behavior and therefore denies the allegation as written.

  65. LSU denies the allegations contained in paragraph 138 of the Complaint.

  66. LSU denies the allegations contained in paragraph 139 as a “specific” validation or

        reference to the denied allegations contained in paragraph 139 of the Complaint.

  67. LSU denies the allegations contained in paragraph 140 of the Complaint as written.

  68. LSU denies the allegations contained in paragraphs 141-146 of the Complaint.

  69. The allegations contained in paragraphs 147-152 pertain to and are directed at Defendants

        other than LSU and require no response by LSU. To the extent response is required, the

        allegations are denied for lack of sufficient information to justify a belief therein.

  70. LSU denies as written the allegations contained in paragraph 153 of the Complaint.

  71. LSU denies as written the allegations contained in paragraph 154 of the Complaint.

                                                  11
90251
        Case 3:18-cv-00772-SDD-EWD             Document 243        01/11/21 Page 12 of 16




  72. The allegations contained in paragraph 155 pertain to and are directed at Defendants other

        than LSU and require no response by LSU.

  73. LSU denies the allegations contained in paragraph 156 of the Complaint.

  74. LSU denies as written the allegations contained in paragraph 157 of the Complaint.

  75. LSU denies the allegations contained in paragraph 158 of the Complaint insofar as they are

        directed at LSU. To the extent the allegations are directed at Defendants other than LSU,

        no response is required by LSU. To the extent response is required, the allegations are

        denied for lack of sufficient information to justify a belief therein.

  76. LSU denies the allegations contained in paragraph 159 of the Complaint insofar as they are

        directed at LSU. To the extent the allegations are directed at Defendants other than LSU,

        no response is required by LSU. To the extent response is required, the allegations are

        denied for lack of sufficient information to justify a belief therein.

  77. LSU denies as written the allegations contained in paragraph 160 of the Complaint.

  78. LSU admits the allegations contained in paragraph 161 of the Complaint.

  79. LSU denies as written the allegations contained in paragraph 162 of the Complaint.

  80. LSU admits the allegations contained in paragraph 163 of the Complaint.

  81. The allegations of paragraph 164 containing references to a document are admitted with

        respect to the accuracy of the references. However, LSU invokes the rule of completeness

        under Fed. R. Evid. 106 as the best evidence of its content and denies the edited reference

        in the document is evidence of gender-based discrimination.

  82. LSU denies the allegations contained in paragraph 165 of the Complaint.

  83. LSU denies as written the allegations contained in paragraph 166 of the Complaint.

  84. LSU denies as written the allegations contained in paragraph 167 of the Complaint.

                                                  12
90251
        Case 3:18-cv-00772-SDD-EWD             Document 243        01/11/21 Page 13 of 16




  85. LSU admits the allegations contained in paragraph 168 of the Complaint.

  86. The allegations contained in paragraphs 169-170 pertain to and are directed at Defendants

        other than LSU and require no response by LSU. To the extent response is required, the

        allegations are denied for lack of sufficient information to justify a belief therein.

  87. LSU admits the allegations contained in paragraph 171 of the Complaint.

  88. LSU admits the allegations contained in paragraph 172 of the Complaint.

  89. LSU admits the allegations contained in paragraph 173 of the Complaint.

  90. LSU denies as written the allegations contained in paragraph 174 of the Complaint. Further

        responding, LSU responds that the allegations in paragraph 174 refers to a document. LSU

        invokes the rule of completeness under Fed. R. Evid. 106 as the best evidence of its content

        and denies the reference in the document is evidence of gender-based discrimination

  91. LSU admits the allegations contained in paragraph 175 of the Complaint.

  92. LSU admits the allegations contained in paragraph 176 of the Complaint.

  93. LSU admits the allegations contained in paragraph 177 of the Complaint.

  94. LSU denies as written the allegations contained in paragraph 178 of the Complaint.

  95. LSU admits the allegations contained in paragraph 179 of the Complaint.

  96. LSU denies the allegations contained in paragraph 180 of the Complaint as written.

  97. LSU admits the allegations contained in paragraph 181 of the Complaint.

  98. LSU admits the allegations contained in paragraph 182 of the Complaint.

  99. LSU admits the allegations contained in paragraph 183 of the Complaint.

 100. LSU denies the allegations contained in paragraph 184 of the Complaint.

 101. The allegations of paragraph 185 containing references to a document are admitted with

        respect to the accuracy of the references. However, LSU invokes the rule of completeness

                                                  13
90251
        Case 3:18-cv-00772-SDD-EWD           Document 243        01/11/21 Page 14 of 16




        under Fed. R. Evid. 106 as the best evidence of its content and denies the edited reference

        in the document is evidence of gender-based discrimination.

 102. LSU admits the allegations contained in paragraph 186 of the Complaint.

 103. LSU denies the allegations contained in paragraph 187 of the Complaint.

 104. The allegations contained in paragraphs 188-196 pertain to and are directed at Defendants

        other than LSU and require no response by LSU.

 105. The statement contained in paragraph 197 is not an allegation but LSU references all prior

        denials and responses to allegations adopted or referenced in paragraph 197 of the

        Complaint.

 106. LSU denies the allegations contained in paragraph 198 of the Complaint.

 107. LSU denies the allegation contained in paragraph 199 of the Complaint.

 108. LSU denies the allegation contained in paragraph 200 of the Complaint.

 109. LSU denies the allegation contained in paragraph 201 of the Complaint.

 110. LSU denies the allegation contained in paragraph 202 of the Complaint.

 111. LSU denies the allegation contained in paragraph 203 of the Complaint.

 112. LSU denies the allegation contained in paragraph 204 of the Complaint.

 113. LSU denies the allegation contained in paragraph 205 of the Complaint.

 114. LSU denies the allegation contained in paragraph 206 of the Complaint.

 115. LSU denies the allegation contained in paragraph 207 of the Complaint.

 116. LSU denies the allegation contained in paragraph 208 of the Complaint.

 117. LSU denies the allegation contained in paragraph 209 of the Complaint.

 118. LSU denies the allegation contained in paragraph 210 of the Complaint.

 119. LSU denies the allegation contained in paragraph 211 of the Complaint.

                                                14
90251
        Case 3:18-cv-00772-SDD-EWD             Document 243        01/11/21 Page 15 of 16




 120. LSU denies the allegation contained in paragraph 212 of the Complaint.

 121. LSU denies the allegation contained in paragraph 213 of the Complaint.

 122. LSU denies the allegation contained in paragraph 214 of the Complaint as an allegation of

        gender-based discrimination.

 123. LSU denies the allegation contained in paragraph 215 of the Complaint.

 124. The allegations contained in paragraph 216 of the Complaint require no response by LSU.

        LSU denies that plaintiffs have stated a valid cause of action or right of action against LSU

        under Title IX.

 125. The allegations contained in Count II (Survival and Wrongful Death Negligence/Breach of

        Assumed Duties/Failure to Rescue Under Louisiana State Law (Individual Defendants and

        Defendant Allstate)), paragraphs 217-225, are not directed at LSU and require no response

        by LSU.

                                         JURY DEMAND

        LSU demands trial by jury.

        Wherefore, after due proceedings, LSU prays that the civil action filed herein against LSU

be dismissed, with prejudice, at Plaintiffs’ costs and for all other relief available by law.




                                                  15
90251
        Case 3:18-cv-00772-SDD-EWD            Document 243        01/11/21 Page 16 of 16




                                                 BIENVENU, BONNECAZE, FOCO, VIATOR &
                                                 HOLINGA, APLLC

                                                 By: S/David M. Bienvenu Jr.
                                                    David M. Bienvenu, Jr., #20700
                                                    Lexi T. Holinga, #30096
                                                    Anthony J. Lascaro, #32546
                                                    Patrick H. Hunt, #34599
                                                    4210 Bluebonnet Blvd.
                                                    Baton Rouge, LA 70809
                                                    Phone: (225) 388-5600
                                                    Fax: (225) 388-5622

                                                 Counsel for

                                                 THE BOARD OF SUPERVISORS OF
                                                 LOUISIANA STATE UNIVERSITY AND
                                                 AGRICULTURAL AND MECHANICAL
                                                 COLLEGE



                                        - CERTIFICATE -

       I certify that a copy of the foregoing was filed electronically with the Clerk of Court using
the CM/ECF system. Notice of this filing will be sent to all counsel of record by operation of the
Court’s electronic filing system.

        Baton Rouge, Louisiana, this 11th day of January, 2021.

                                               S/David M. Bienvenu Jr.
                                               David M. Bienvenu, Jr.




                                                16
90251
